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Peter Chang

2377 Alamo Heights Dn`ve Diamond Bar, California 91765 5 ` § 3 1115 H: 25
626-905-1555 , ,_ §§ d
pchang@protoprism.com w iv v -`- § f,}', L 4 ' ‘°-
Plaintiff in Pro Per l 1 ' ' ' W ¢. _,

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIF()RNIA

cv16 - 02 5 ozP/\(RA@X)

 

Case No:
PETER CHANG
Plaintiff in Pro Per
VIOLATIONS OF THE
VS_ FAIR CREDIT REPORTING ACT

FIRST NATloNAL BANK oF oMAHA, DEMAND FOR JURY TRIAL

N.A.
Defendant

 

 

I. PRELIMINARY STATEMENT
1. This is an action for damages brought from violations of the Fair Credit Reporting

Acc (FCRA) 15 U.s.C. §1681 et seq.

II. JURISDICTION
2. This Court has jurisdiction under 15 U.S.C. §1681p.

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III. VENUE

3. Venue is proper because the events occurred in this district

IV. PARTIES

4. Plaintiff’ s name is Peter Chang.

Plaintiff resides at: 2377 Alamo Heights Drive Diamond Bar, California 91765

5. Defendant FIRST NATIONAL BANK OF OMAHA, N.A.

Located at: 1620 Dodge Street Omaha, Nebraska 68197.

V. STATEMENT OF FACTS

. The Defendant FIRST NATIONAL BANK OF OMAHA, N.A. located at 1620 Dodge

Street Omaha, Nebraska 68197 is a credit lender and as such governed under the law
by The Fair Credit Reporting Act 15 USC §1681, et seq. and also reports these

accounts to the national credit reporting agencies (i.e. Equifax, EXperian, TransUnion).

. The State of California abides by and adheres to these laws, specifically the Fair Credit

Reporting Act § 618 15 USC §1681p, et seq. Thus the jurisdiction of this honorable

court has been established

. The Plaintiff denies ever having any contractual agreement for credit, loans, or a

services relationship With the Defendant. Even if the Plaintiff did have such an
agreement, Which the Plaintiff denies, the alleged account is not in question here. The
matters here are how the dispute Was or Were not Verified; Willful misconduct of the
Defendant in inserting erroneous and inaccurate information, refusal to remove that
information, and the failure Of the Defendant to indicate the account is in dispute in the
Plaintiff’ s credit reports. All these acts violated the Plaintiff’s civil rights as outlined
in The Fair Credit Reporting Act 15 USC §1681, et seq.

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9. The Plaintiff most recently requested a copy of his Credit Report from Equifax,
EXperian, and TransUnion on February 15, 2016. The Plaintiff Was alerted to this
erroneous reporting through his credit monitoring service Equifax Who also records

these transactions

10. Upon inspection of the said report the Plaintiff observed that FIRST NATIONAL
BANK OF OMAHA, N.A. (hereinafter “FNBO”) Was listed on the Plaintiff’s
Equifax and Experian credit reports, indicating a debt/account due to FNBO.

11. The Plaintiff has not now or ever had any business affiliation or relationship With
FNBO and has never applied for any type of mortgage, loan, credit card or insurance

With the Defendant.

12. The Plaintiff contacted the Defendant by U.S. Postal Service Certitied Mail on
February l, 2016 Which the Defendant received on February 5, 2016 asking for proof
of this alleged account The Plaintiff had contacted the Defendant by U.S. Postal
Service Certifled Mail on several other occasions prior to this (all mailings continued
delivered at duly authorized mailing address), With the corresponding postmark and
delivery dates beloW:

1. Sent: Dec. 27, 2014 / Received: Dec. 30, 2014
2. Sent: Jan. 17, 2015 / Received: Jan. 22, 2015
3. Sent: Jan. 26, 2015 / Received: Jan. 30, 2015
4. Sent: Feb. 12, 2015 / Received: Feb. 17, 2015
5. Sent: Mar. 12, 2015 /Received: Mar. 16, 2015
6. Sent: May 9, 2015 / Received: May 12, 2015
7. Sent: June 5, 2015 / Received: June 9, 2015

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13. The Defendant never responded to even one of the mailings above with proof of the

alleged account. Even when notified by the 3 major credit reporting agencies, who

also received copies of each dispute letter.

14. The Plaintiff had never received an answer from the Defendant and has attempted to

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have an explanation from the Defendant without any response for over one year.
After not receiving any answer from the Defendant, the Plaintiff contacted the
Defendant on February 26, 2016 with a final notice of Pending Lawsuit in an attempt
to settle this situation amicably to try and get a response from the Defendant prior to
filing this complaint The Defendant received this letter on March 2, 2016 via U.S.
Postal Service Certified Mail. The Defendant has never responded to the Plaintiff and

continues its willfill misconduct with total disregard to the Plaintiff"s dispute.

The Plaintiff has tried every way possible to resolve these issues but has never
received an answer from FNBO. Thus forcing the Plaintiff to seek Justice and for the
court to intervene in this matter. The derogatory, erroneous, and inaccurately
reported information still remains on the Plaintiff’s Credit report to date. The
Plaintiff has requested confirmation and disputed this alleged account with Equifax
and Experian on several occasions, and they all have confirmed that they are

reporting it correctly as advised by FNBO.

The Defendant must also accurately and consistently inform the major credit
reporting agencies (i.e. Equifax, Experian, TransUnion) that the alleged account is in
dispute, which the Defendant has not done. The Defendant has continued reporting
erroneous and inaccurate information by updating the Plaintiff’s credit report for
more than one year even after being informed of a dispute by the Plaintiff several
times, and asked for proof of any account, which the Defendant has not proved to-

date.

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17.

Plaintiff has a negative Equifax credit score of 507, EXperian credit score of 502, and
TransUnion credit score of 466, as of this date. Plaintiff has lost and been denied
credit at reasonable rates because of the willful noncompliance actions and erroneous
and inaccurate reporting and/or inaction’s of the Defendant Plaintiff has suffered

irreparable injury in the form of Defamation of character.

VI. CAUSES OF ACTION

FIRST CAUSE OF ACTION

VIOLATION OF THE FAIR CREDIT REPORTING ACT [15 U.S.C. § 16815-2]

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WILLFUL NON-COMPLIANCE BY DEFENDANT FNBO

Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).
FNBO is a furnisher of information within the meaning of the FCRA, 15 U.S.C.
§16815-2.
FNBO willfully violated the FCRA. Defendant’s violations include, but are not
limited to, the following:
FNBO willfully violated 15 U.S.C. § 1681s-2 (a)(S)(E)(i) by failing to conduct an
investigation with respect to the disputed information after receiving disputes from
the consumer several times, while continuing to report negatively in the consumer’s
credit report.
( See attached Exhibit 1, example of a dispute letter and affidavit sent repeatedly to
FNBO.)
WHEREFORE, Plaintiff demands judgment in the amount of $8,000 for each
instance of dispute the Defendant failed to conduct an investigation on while
willfully continuing to report negatively in the consumer’s credit report, and punitive

damages, attorney's fees and costs, pursuant to 15 U.S.C. §l681n (a).

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SECOND CAUSE OF ACTION
VIOLATION OF THE FAIR CREDIT REPORTING ACT [15 U.S.C. § 1681s-2]
WILLFUL NON-COMPLIANCE BY DEFENDANT FNBO

23. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).

24. FNBO is a furnisher of information within the meaning of the FCRA, 15 U.S.C.
§l681s-2.

25. FNBO willfully violated the FCRA. Defendant’s violations include, but are not
limited to, the following:

26. FNBO willfully violated 15 U.S.C. § 1681s-2 (a)(8)(F)(ii) by inferring from its non-
dispute and inaction to Plaintiff” s dispute that it deemed the dispute frivolous, then
failing to provide a notice of determination that the dispute is frivolous or irrelevant
not later than 5 business days after making such determination

27. WHEREFORE, Plaintiff demands judgment in the amount of $8,000 for each
instance the Defendant received the Plaintiff’s dispute and failed to provide a notice
to the Plaintiff of determination that the dispute is frivolous or irrelevant, and

punitive damages, attomey's fees and costs, pursuant to 15 U.S.C. §l681n (a).

THIRD CAUSE OF ACTION
VIOLATION OF THE FAIR CREDIT REPORTING ACT [15 U.S.C. § 16815-2]
WILLFUL NON-COMPLIANCE BY DEFENDANT FNBO

28. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).

29. FNBO is a furnisher of information within the meaning of the FCRA, 15 U.S.C.
§16813-2.

30. FNBO willfully Violated the FCRA. Defendant’s violations include, but are not

limited to, the following:

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FNBO willfully violated 15 U.S.C. § 16818-2 (a)(7)(A)(i) by failing to provide a
notice of furnishing of negative information to EquifaX and EXperian, in writing, to

the customer.

32. WHEREFORE, Plaintiff demands judgment in the amount of $2,000 for failing to

provide a notice of furnishing of negative information to Equifax and Experian, and

punitive damages, attorney's fees and costs, pursuant to 15 U.S.C. §l681n (a).

FOURTH CAUSE OF ACTION

VIOLATION OF THE FAIR CREDIT REPORTING ACT [15 U.S.C. § 1681s-2]

WILLFUL NON-COMPLIANCE BY DEFENDANT FNBO

Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. §1681a(c).

FNBO is a himisher of information within the meaning of the FCRA, 15 U.S.C.
§16815-2.

FNBO willfully violated the FCRA. Defendant’s violations include, but are not
limited to, the following:

After receiving a dispute several times from the consumer and not determining and
notifying the consumer that the dispute has been determined to be frivolous or
irrelevant, FNBO willfully violated 15 U.S.C. § 16813-2 (a)(l)(A) by continuing to
furnish negative information relating to a consumer with reasonable cause to believe
that the information is inaccurate

FNBO willfully violated 15 U.S.C. § 16813-2 (a)(l)(B) by continuing to furnish
inaccurate information to Equifax and Experian after the person has been notified by
the consumer, at the address specified by the person for such notices, that specific
information is inaccurate

FNBO willfully violated 15 U.S.C. § 16813-2 (a)(2) by continuing to furnish

inconsistent and inaccurate information between EquifaX and Experian for 7 months.

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39. FNBO willfully violated 15 U.S.C. § l681s-2 (a)(3) by continuing to furnish
negative information to Equifax and Experian without notice that such information
is disputed by the consumer.

( See attached Exhibit 2, excerpts from Plaintiff’ s Equifax and Experian credit report
with no notice of dispute, and inconsistent reporting across both agencies.)

40. WHEREFORE, Plaintiff demands judgment in the amount of $33,000 for each
month the Defendant violated the act by updating the Plaintiff’ s credit reports with
inaccurate and erroneous information, and punitive damages, attorney's fees and
costs, pursuant to 15 U.S.C. §1681n(a).

- 13 months X (2) Major reporting agencies (Equifax, Experian) X $1,000 = $26,000
- 7 months inconsistent reporting across Equifax and Experian X $1,000 = $7,000
Total judgment = $33,000

VII. REOUEST FOR RELIEF

WHEREFORE the Defendant has violated the Fair Credit Reporting Act, the Plaintiff

requests judgment in:

41. Defendant shall remove any derogatory information and inquiries from all three
major credit-reporting agencies Equifax, Experian and TransUnion and any other
known credit reporting agencies FNBO has used now or may use in the future.

42. Defendant provides a letter and or Universal Data Form indicating that they have
done this and sends the same to the Plaintiff.

43. Defendant be prohibited from selling or transferring the alleged account to any other
lender, collection agency, attorney or entity, and also barred now and in the future
from re-entering this information into the Plaintiff’s credit reports. The Defendant

will also be prohibited from issuing a 1099C for this alleged debt.

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44. Defendant cease and desist any further collection activities including legal actions if
applicable against the Plaintiff, and the Defendant may not Sell or transfer the alleged
account to any other Collection Agency or Attorney or entity now or in the future.

45. F or the amount of $5 1,000.00 in statutory damages for all violations of the FCRA.

46. For the amount of $209,800.00 for actual damages

47. All costs of this action.

48. Punitive damages in the amount of 5150,000.00.

Dated: April ll, 2016

X{;ter Chang, Plaintiff in Pro Per

 

VIII. DEMAND FOR JURY TRIAL

Plaintiff hereby requests a jury trial on all issues raised in this complaint

Dated: April ll, 2016

Sign: %_

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geter Chang, Plaintiff in Pro Per

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EXHlBlT 1

Example of a dispute letter and affidavit
sent repeatedly to

First National Bank of Omaha

 

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From: Peter Chang
2377 Alamo Heights Dr Diamond Bar CA 91765

To: First National Bank of Omaha - 1620 Dodge St. SC-3105 Omaha NE 68197
6/5/15

Certified Mail No. 7014-2870-0001-8080-3306

RE: First National Bank of Omaha Account No. 4412 9701 7293 3408
NOTICE OF DlSPUTE
Dear First National Bank of Omaha:

This is in response to your claim that payment for an alleged debt is past due.
However, "Fraud vitiates the most solemn Contracts, documents and even
judgments" [U.S. vs. Throckmorton, 98 US 61, at pg. 65]. Further, you did not
answer any of the points in my letter, nor did you sign the affidavit. For
these reasons, l am including them once agai-n.

This Notice is to confirm that your claim is disputed under 15 USC § 1692 et
seq. and California Civil Code Section 1689(b)(1) Please verify under oath
that this claim is valid, free from any claims and defenses including but not
limited to: any breach of agreement, failure of consideration or material
alterations, and that the original lender provided value. Further, that the
alleged account was transferred in good faith and by the consent of all parties
involved.

After reasonable inquiry l have concluded that First National Bank of Omaha is
in breach of the alleged agreement. The following facts support my position in
this matter:

1. First National Bank of Omaha failed to disclose to the alleged consumer
Peter Chang (hereinafter “consumer”) that First National Bank of Omaha
used consumer’s note, capital, funds, money or money equivalent to
fund a note, check or similar instrument that was used to fund the
charges on the alleged account, whereby First National Bank of Omaha
did not perform under the agreement and risked nothing of value.

2. First National Bank of Omaha has not used any of their own capital, funds,
money or money equivalent to pay for any charges on the alleged
account.

3. First National Bank of Omaha received “something-for-nothing” by using
the consumer’s note(s) to fund charges to the credit card account while
retaining payments from consumer.

4. When accounts are 90 days or more overdue, First National Bank of
Omaha receives a payoff of the amount due from insurance, whose
premiums were unknowingly funded by the so-called “borrower”.

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Exh. l ~ Paqe 10 of 15

 

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l want to receive absolute assurance from First Nat .1al Bank of Omaha that
they did not breach the agreement 'ln'order to settte this matter', ptease sign
or have an authorized officer sign the enclosed affidavit, confirming that you
have read the agreement, that you understand GAAP, the bookkeeping entries,
accounts receivables and deposits, the banking laws, and the Federal Reserve
hank’§ maliric=< and Drnr¢=dure<

ln addition please furnish me with the following information:

1) A complete statement of Damages, including each and every loss that
First National Bank of Omaha incurred under the alleged agreement.

2) A front and back, true and correct copy of the alleged signed agreement
(full Et complete disclosure), and a detailed copy of the alleged account.

3) The name, address and telephone number of First National Bank of
Omaha’s CPA auditor.

4) A copy of your oath of office confirming you are not violating 15 USC
§1692(e)3 and California Civil Code Section 1689(b)(1).

lf you cannot verify this debt by the above listed means, then what right do you
have, under FDCPA, to even send me a letter? Are you committing mail fraud?

All communications and omissions will be made part of and incorporated into
any litigation arising from this matter. Failure to verify and validate the debt
within thirty (30) days by signing the enclosed affidavit confirms that no
further action will be taken and an absolute waiver of any right to collect the
alleged debt.

You must contact me in writing and request an extension in the event that you
need more than thirty (30) days to verify and validate the debt. Failure to do
so confirms that the time limit is reasonable This notice also constitutes
Notice to Cease Telephonic Communications.

NOT|CE
THlS IS NOT A REQUEST FOR CONF1RMAT10N THAT YOU HAVE A COPY OF AN

AGREEMENT OR COPlES OF STATEMENTS. TH|S lS A DEMAND FOR PROGF THAT
YOU HAVE THE REQUlS|TE KNOWLEDGE 0F THE FACTS, AND THAT THE ALLEGED

CRED\TOR PROVlDED ADEQUATE CONS|DERAT|ON AND INCURRED A FlNANClAL

LOSS UNDER THE FULL & COMPLETE ORlG|NAL AGREEMENT.

Notice to the Principal is Notice to the Agent, and Notice to the Agent is
Notice to the Principal.

Sincerely, M

Signed without prejudice by /l?eter Chang

 

  
 
 

Cc: Equifax, P.0. Box 740241 Atlanta, GA 30374;
Experian, P.O. Box 4500, Allen, TX 75013;
TransUnion, P.O. Box 2000 Chester, PA 19022

 

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AFF|DAVlT: VER|F|CAT|ON OF DEBT

The undersigned affiant, being duly sworn, deposes and states:

1. That l have the requisite knowledge of the facts regarding “First National Bank of
Omaha Account Number: 4412 9701 7293 3408” including the credit card agreement,
account ledgers and bookkeeping entries;

2. That First National Bank of Omaha does not follow Generally Accepted Accounting
Principles (GAAP) or the Federal Reserve Bank’s policies and procedures, and did not create
credits from the Cardholder’s signed receipts, promises to pay, notes, or other instruments; ,

3. That First National Bank of Omaha used its own money, money equivalent, credit
or capital, or that of other depositors, as adequate consideration to purchase the loan
agreement and notes from the Cardholder;

4. That First National Bank of Omaha did not accept, receive or deposit any money,
money equivalent, note, credit or capital from the Cardholder to fund a note, check or
similar instrument that was used to finance/fund the charges on the alleged account;

5. That First National Bank of Omaha incurred financial losses and has been damaged
in the amount of $18,246.79, and is attempting to collect a bona fide debt arising from
services provided and/ or goods sold to the Cardholder; '

6. When accounts are 90 days or more overdue, First National Bank of Omaha does not
receive a payoff of the amount due from insurance, whose premiums were unknowingly
funded by the so-called “borrower”.

7. That all material facts and terms and conditions regarding the alleged account, have been
disclosed to the Cardholder in the credit card agreement and promissory note;

8. That First National Bank of Omaha is the holder in due course of all notes and that the
notes were taken for value, in good faith, and without any notice of claims or defenses, and
that any transfer of the account was made with the full knowledge and consent of all the
parties; and

9. That l have personal knowledge that the Credit Card agreement and promissory notes
were not altered or forged in any way.

ATTESTATlON
The facts stated above are true, correct and complete.

Signed by: Subscribed and Sworn before me this
Day of , 2

 

 

The State of

County of

 

Print Name & Title

 

Signature & Seal of Notary

 

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EXHlBlT 2

Excerpts from Plaintiff`s Equifax and Experian
credit report with no notice of dispute,

and inconsistent reporting across both agencies

 

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FNB CMAHA?
___ Account Number. 51077XXXXXXXXXX 5107771XXXX 51077XXXXXXXXXX
Payment Responsibility: __ individual individual individual
Date Opened: 09/2007 09/2007 09/2007
Balance Date: 02/2016 02/2016 02/2016 '
Balance Amounl". $18,519 $18,519 $18,519
_____ Monthly Payment: $0
High/Limit: _ $18,519 $19,200 $19,200
Account Status: . __ Co|ieciion Coliection Late Over 120 Days
Past Due Amount: $18,519 $18,519 $18,519
Comments: LAST REPORTED DlSPUTE RESOLVED DlSPUTE RESOLVED
DELlNQUENClES: REPORTED BY GRANTOR ACCOUNT DELlNQUENT 180
06/2015=R5,05/2015=R5,04 DAYS PAST DUE DATE LAST
/2015=R5 CREDIT CARD REPORTED DELlNQUENClES:
CHARGED OFF ACCOUNT 07/2015=R9 CHARGE OFF
' LAST PAlD:11/2014
FNB OMAHA
1620 badge st

Omaha, NE-681970003
(300) 444-9375

    

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24-Month Payment History

 

 

  
   
 
 
 

_ Equifax

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TransUnion §
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Seven-Year Payment History

 

 

 

 

 

Equifax TransUnion Experian
30 Days Past Due: 0 0 1
60 pays Past Due: 0 0 1
90 Days Past Due: 0 0 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FNB OMAHA
TransUnion Experian __‘
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Account Number: …_ y M j 4841597XXXX" ' _'
Payment Responsibiiity. 0 -… M* v "" 5 w w individual mm m _
w pate opened; ' "" …“'_ 09/2007 __________ _
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Momhly payment _______ __________ ___________
___ Accountstatus ____ ___ __ _ _ ___.__.___" AS Agreed
.. Past Due Amount __ _ $0
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Exh. 2 - Page 14 of 15

 

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ClVlL COVER SHEET
|. (a) PLA|NT|FFS ( Check box if you are representing yourself ) DEFENDANTS (Checl< box if you are representing yourself [:I )
PI:TER CHANG FlRST NATlONAL BANK OF OMAHA, NA
(b) County of Residence of First Listed Plaintiff Los Angeles County of Residence of First Listed Defendant Douglas
(EXCEPT/N U.S. PLAlNT/FF CASES) (lN U.S. PLA/NT/FF CASES ONLY)
(C) Attorneys (Firm Name, Address and Te/ephone Number) lf you are Attorr\eys (Firm Name, Address and Te/ephone Number) |f you are
representing yourself, provide the same information. representing yourself, provide the same information.
2377 A|amo Heights Dr Diamond Bar CA 91765
626-905-1555
ll. BASIS OF _IURISDICTION (Place an X in one box only.) lll. ClleENSHlP OF PRlNCIPAL PARTIES-For DiVel'Sity CaSeS Only
(Place an X in one box for plaintiff and one for defendant)
, PTF DEF . . PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen OfThis State m 1 1:1 1 lnCOrROrat€jj 01 Frln€lpa| PlaC€ |:1 4 1:| 4
Plaintiff Government Not a Party) °f Bus'ness m th'$ State

CitizenofAnotherState |:| 2 [:] 2 lncorporatedandPrincipalPlace [:] 5 [:] 5
of Business in Another State '

 

 

2. U.S. Government 4. Diversity (|ndicate Citizenship Citizen or Subject of a . .
Defendant m ofi>arries in item iii) Fereign country l:l 3 l:l 3 F°'e'g" Nat'°“ E 6 l:l 6
lV. ORlG|N (Place an X In one box only.) 6 Mu|t._
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Proceeding State Court Appel|ate Court Reopened District (Specify) Litigation

 

v.REQuEsTEoiN coiviPLAiNT:JuRYDEn/iAND; -Yes |:| No (Check"Yes"onlyifdemandedin complaint.)

CLASS ACTION under F.R.CV.P. 23: I:] YeS NO MONEY DEMANDED lN COMPLA|NT: $ 260,800
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a briefstatement of cause. Do not citejurisdictiona| statutes unless diversity.)

 

Violation of the Fair Credit Reporting Act. Reporting erroneous and inaccurate information and defamation of character.

 

V||. NATURE OF SUlT (Place an X in one box only).

 

  

 
    

   

         

 

       
  

 

  

 

     

 

 

 

     
     

 

   

 

   

 

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UNlTEL

ClVlL COVER SHEET

\TES DlSTRlCT COURT, CENTRAL DlSTRlCT 0

tLlFORNlA

Vlll. VENUE: Your answers to the questions below will determine the division ofthe Courtto which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court ofyour Complaint or Notice of Remova|.

 

QUESTlON A: Was this case removed
from state court?

|:] Yes No

|f "no, " skip to Question B. |f"yes," check the
box to the right that applies, enter the
corresponding division in response to

 

 

 

 

ij Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[:] Orange Southern
[:] Riverside or San Bernardino Eastern

 

 

Question E, below, and continue from there.
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QuEstioN B: is the united states, or
one of its agencies or employees, a
PLA|NT|FF in this action?

[:] Yes No

|f "no, " skip to Question C. |f "yes," answer
Question B.1, at right.

B.1. Do 50% or more ofthe defendants who reside in
the district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more ofthe defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

->

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

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QuEsTioN ct i the united states, er
one of its agencies or employees, a
DEFENDANT in this action?

[:] Yes No

|f "no, " skip to Question D. lf"yes," answer
Question C.1, at right.

C.1.

Do 50% or more ofthe plaintiffs who reside in th
district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more ofthe plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

 

indicate the location(s) in which 50% or more of plaintiffs Who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

    

 

indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

 

 

 

 

apply-)

 

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|:] Yes

     

      

owe § §§ v '

D.1. ls there at least one answer in Column A?

lf"yes," your case will initially be assigned to the
SOUTHERN DlVlSlON.
Enter"Southern" in response to Question E, below, and continue from there.

lf "no," go to question D2 to the right.

-No

->

D.2. ls there at least one answer in Column B?
|:] Yes No
lf "yes," your case will initially be assigned to the
EASTERN DlVlSlON.
Enter "Eastern" in response to Question E, below,
lf "no," your case will be assigned to the WESTERN D|V|SlON.

Enter "Western" in response to Question E, below,

 

 

  

":';i§i°n '

 

 

 

 

 

 

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[:I Yes

 

CV-7'l (02/16)

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-No

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UNlTEB iTES DlSTRlCT COURT, CENTRAL DlSTRlCT 0 .LlFORNlA

ClVIL COVER SHEET

lX(a). lDENT|CAL CASES: Has this action been previously filed in this court? NO [:| YES

lf yes, list case number(s):

 

|X(b). RELATED CASES: ls this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

lf yes, list case number(s):

No |:] Yes

 

Civil cases are related when they (check all that apply):

|:| A. Arise from the same or a closely related transaction, happening, or event;

|:] B. Call for determination ofthe same or substantially related or similar questions of law and fact; or

[:| C. For other reasons would entail substantial duplication of labor ifheard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that app|y):

X. S|GNATURE OF ATTORNEY
(OR SELF-REPRESENTED LlTlGANT):

|:] A. Arise from the same or a closely related transaction, happening, or event;

[] B. Call for determination ofthe same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

cI/

/-"'__ DATE: April 4, 2016

Notice to Counsel/Parties: The submission ofthi Civil Cover Sheet is required by Loca| Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV~071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

HlA

BL

DlWC

DlWW

SSlD

RS|

Abbreviation

Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) underTitle 18, Part A, ofthe Social Security Act, as amended, A|so,
include claims by hospita|s, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "B|ack Lung" benefits underTitle 4, Part B, ofthe Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits underTitle 2 ofthe Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows orwidowers insurance benefits based on disability underTitle 2 ofthe Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed underTitle 16 ofthe Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits underTitle 2 ofthe Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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